         Case 2:21-mc-01230-JFC         Document 3292         Filed 04/15/25      Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                               )
IN RE: PHILIPS RECALLED CPAP,                  )
BI-LEVEL PAP, AND MECHANICAL                   )
VENTILATOR PRODUCTS                            )       Master Docket: Misc. No. 21-1230
LITIGATION                                     )
                                               )
                                               )       MDL No. 3014
This Document Relates to:                      )
                                               )
All cases and                                  )
                                               )
Fuentes v. Philips, #22-130                    )
King v. Philips, #24-1693                      )
Roberts v. Philips, #23-1027                   )
                                               )



                                   MEMORANDUM OPINION

    I.       Introduction

          Pending before the court are motions to participate by video in the oral arguments on

May 6, 2025, filed by plaintiff Derrick King (“King”) (ECF No. 3263), and by counsel on behalf

of plaintiffs Edwin Fuentes Vazquez (“Fuentes”) and Brenda Hernaiz Trinidad (“Trinidad”)

(ECF No. 3270), and Nathaniel Roberts (“Roberts”) (Civ. No. 23-1027, ECF No. 29). The oral

arguments involve motions to remand individual personal injury cases to the respective

transferor courts. Defendants (“Philips”) 1 filed a response (ECF No. 3274), in which they took

no position on the motions. King filed a reply (ECF No. 3279). The motions are ripe for

decision.



1
 The Philips defendants are Koninklijke Philips, N.V., Philips North America LLC, Philips Holding
USA, Inc., Philips RS North America LLC and Philips RS North America Holding Corp. For
convenience, all the Philips entities will be referred to as “Philips.”
         Case 2:21-mc-01230-JFC          Document 3292        Filed 04/15/25      Page 2 of 3




   II.       Discussion

          In accordance with DMO ¶ 10, the Court scheduled oral argument for all remaining

remand motions on May 6, 2025, immediately following the status conference. The court’s

opinion and order dated March 21, 2025, provided, in relevant part:

          The oral arguments will be in person, unless good cause is shown for the court to
          hear an argument by video (i.e., the plaintiff is incarcerated). See PTO # 10 (ECF
          No. 464). Motions for which no argument is presented in person will be resolved
          on the briefing. Counsel shall meet and confer prior to the May 6, 2025, arguments
          to develop a schedule for each motion and attempt to combine common issues to
          promote efficiency.

ECF Nos. 3249, 3250. The plaintiffs articulated that their basis for “good cause” which supports

their respective requests to participate by video is the distance to be traveled and the expense to

attend the hearing.

          The court takes judicial notice that Roberts is located in New Mexico and Fuentes and

Trinidad are located in Puerto Rico. The court infers that the time and expense required for

counsel to travel to Pittsburgh, Pennsylvania from those distant locations for the oral argument

would impose an undue burden on those plaintiffs. With that understanding, the court will grant

those motions and counsel may appear by video. The court will circulate log-in information to

counsel for those parties.

          The court is skeptical that King, who asserts that he joins in the other motions, would be

able to establish good cause. He is not incarcerated and resides in Akron, Ohio, which is only

112 miles from this courthouse. https://www.google.es/maps/dir/Pittsburgh,+PA/Akron,+OH.

The court, however, need not decide whether King showed “good cause,” because in his reply he

represented “his intention to appear in person at the May 6, 2025 hearing.” (ECF No. 3279 at 2).

King’s motion, therefore, will be denied as moot, without prejudice to his ability to file a new

motion if his circumstances change.

                                                   2
      Case 2:21-mc-01230-JFC             Document 3292        Filed 04/15/25      Page 3 of 3




   III.      Conclusion

          For the reasons set forth above, the motions to participate by video in the oral arguments

on May 6, 2025, filed by counsel on behalf of plaintiffs Fuentes and Trinidad (ECF No. 3270),

and Roberts (Civ. No. 23-1027, ECF No. 29) will be GRANTED. Log in information will be

provided to those counsel by the court. The motion to participate by video filed by Derrick King

(“King”) (ECF No. 3263) will be DENIED AS MOOT, without prejudice.

          An appropriate order will be entered.


Dated: April 15, 2025
                                                       BY THE COURT:

                                                       /s/ Joy Flowers Conti
                                                       Joy Flowers Conti
                                                       Senior United States District Court Judge




                                                   3
